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                    IN THE UNITED STATES BANKRUPTCY COURT FOR

                               THE DISTRICT OF PUERTO RICO

___________________________________
                                       )
In Re: Philip Copeland Story, Jr.,     )
               Debtor                  ) Chapter 7
___________________________________ )
                                       ) Bankruptcy No. 16-8822
Philip Copeland Story, Jr.,            )
               Plaintiff                     )
                                       )
               vs.                     )
                                       ) Adversary No. 16-0257
Windham Professionals, Inc.,           )
        a corporation,                 )
               Defendant, and          )
                                       )
United States Department of Education, )
               Defendant.              )
                                       )
___________________________________________________________

 PLAINTIFF’S VERIFIED REPLY TO DEFENDANT U.S. DEPT. OF EDUCATION’S MOTIONS
     FOR DISCHARGE OF DEBT, DISMISSAL OF ADVERSARY PROCEEDING AND
                    TO VACATE PRETRIAL CONFERENCE; AND
             PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT JUDGMENT
                AND MOTION FOR JUDGMENT ON THE PLEADINGS
___________________________________________________________

       COMES NOW Plaintiff, Philip Copeland Story, Jr., who respectfully avers under penalty

of perjury, and prays as follows:
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   1. Plaintiff filed an Amended Complaint (ECF No. 24) praying for the discharge of his

      student loans based on the undue hardship which compelled repayment would impose

      on him pursuant to the provisions of 11 U.S.C. sec.523(a)(8) of the U.S. Bankruptcy

      Code.

   2. Summons service was executed on Defendant, U.S. Department of Education, on

      February 25, 2017 (ECF No. 30.) and on Defendant Windham Professionals, Inc., on

      February 25, 2017 (ECF No. 31.)

   3. On April 3, 2017, after the elapse of more than 35 days following service, Plaintiff’s

      Verified Request for Entry of Default by Clerk, seeking the entry of default of Defendant

      Windham Professionals, Inc., was filed with the court. (ECF No. 38.)

   4. Defendant Windham Professionals, Inc., has not, to date, filed an answer, motion, or

      other responsive pleading, nor has it by any other means entered an appearance in this

      action.

   5. For the foregoing facts and reasons default judgment should be entered against

      Defendant Windham Professionals, Inc. Plaintiff respectfully prays the court to do so,

      thereby discharging any student loan debt, principal, interest, and related penalties and

      fees, for which Plaintiff is obligated to Defendant Windham Professionals, Inc.

   6. On April 18, 2017, Defendant U.S. Dept. of Education (DOE), filed its answer (ECF No.

      39), controverting plaintiff’s claim of undue hardship under 11 U.S.C sec. 523(a)(8); a

      pretrial scheduling order was later entered, its time limits were extended and pretrial

      discovery was conducted by Defendant DOE and the Plaintiff.

   7. The time limits for discovery and dispositive motions set in the court’s pretrial order of

      August 10, 2017, (ECF No. 49), expired and the court set the matter for pre-trial
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       conference on June 21, 2018, (ECF No. 63.), which upon motion of Plaintiff was reset for

       July 26, 2018 (ECF No. 66).

   8. Pursuant to the court’s June 13, 2018, Order Rescheduling Pretrial Conference (ECF

       No. 66), Plaintiff, on July 14, 2018, served upon counsel for Defendant DOE, Lisa

       Bhatia, AUSA, by electronic mail, copies of his Pretrial Report, Memorandum and Trial

       Exhibits, which were entered by the court on July 19, 2018 (ECF Nos. 70 & 71).

   9. After receiving an extension of time until July 23, 2018, to file its pretrial report,

       Defendant DOE, on that date, filed its Motion for Discharge of Debt, Dismissal of

       Adversary Proceeding and to Vacate Pretrial Conference. (ECF No. 73)

   10. Paragraph 1 of Defendant DOE’s Motion acknowledges that Plaintiff’s “ . . .Amended

       Complaint pray[s] for the discharge of his federal student loan debt because of undue

       hardship.” Paragraph 2 of Defendant DOE’s Motion states that “. . .the United States

       hereby acquiesces to the discharge of the debt that Debtor/Plaintiff has with the

       Department of Education.” And the Motion goes on to state in Paragraph 3 that

       “[i]nsofar as there is no controversy in this case, the United States requests that this

       Adversary Proceeding be dismissed and that the Pretrial Conference scheduled for July

       26, 2018 be vacated.”

   11. First, the Plaintiff states clearly that he embraces Defendant DOE’s aquiescence to the

       discharge of his student loan debt and joins in its Motion for Discharge of Debt to the

       extent that the discharge occurs within and pursuant to this adversary action and the

       statutory bases asserted in Plaintiff’s Amended Complaint under which he seeks such

       discharge.

   12. In as much as Plaintiff is grateful to the United States for its acquiescence to the

       discharge of his student loan debt with the Department of Education, and while he does
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        not desire in any respect to appear otherwise, he has several concerns about the form

        and substance of Defendant’s proposed disposition of Plaintiff’s Amended Complaint

        which he fears this approach will not address.

    13. Plaintiff’s first concern is that he does not understand how to reconcile DOE’s

        acknowledgement that Plaintiff seeks to discharge his student loan debt by reason of the

        sole statutory provision allowing “undue hardship” discharge ​i.e.,​ 11 U.S.C. sec.

        523(a)(8); “aquiesces” to this discharge but also asks the court to dismiss the Amended

        Complaint which is the only pleading in the court file setting forth Plaintiff’s claim for said

        relief and the statutory basis of the court’s jurisdiction and its authority for granting

        “undue hardship” discharge relief..

    14. More clearly stated, Plaintiff is concerned that if his Amended Complaint is dismissed as

        proposed by DOE, the statutory basis, both jurisdictional and substantive, upon which

        the court can grant the student loan discharge sought by Plaintiff (and DOE) will

        evaporate.

    15. It seems to Plaintiff that a more procedurally straightforward, and less fraught, resolution

        to this action where Defendant DOE has acquiesced to Plaintiff’s “undue hardship”

        discharge of his student loans and has moved the court to grant same, would be a

        Motion for Judgment on the Pleadings pursuant to Fed. R. Civ. P. 12(c), since the

        interests of both Plaintiff and Defendant DOE are now aligned and the court file now

        includes a Motion by Defendant DOE seeking the same remedy as Plaintiff, ​i.e.​ the

        discharge of Plaintiff’s student loan debt based on the undue hardship exception to the

        exception from discharge contained as provided by 11 U.S.C. sec. 523(a)(8).

                THEREFORE​, Plaintiff respectfully moves the court, based on the foregoing, and

in the interest of justice and equity, to:
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   1. Pursuant to the applicable court rules and statutes enter a Default Judgment against

       Defendant Windham Professionals, Inc., discharging any and all of Plaintiff’s student

       loan debt, including principal, interest, and related penalties and fees of any kind, if any

       there are; and to

   2. Pursuant to Fed. R. Civ. P. 12(c), and based upon the now admittedly aligned interests

       of the parties, grant judgment on the pleadings in favor of Plaintiff, Philip C. Story, Jr.,

       and against the Defendant U.S. Department of Education, discharging any and all of

       Plaintiff’s student loan debt, including principal, interest, and related penalties and fees

       of any kind, if any there are; and to

   3. Deny DOE’s Motion for Discharge of Debt to the extent it is inconsistent with Plaintiff’s

       Motions hereinabove; and to

   4. Deny Defendant DOE’s Motion for Dismissal of Adversary Proceeding to the extent it is

       inconsistent with Plaintiff’s Motions hereinabove; and to

   5. Deny Defendant DOE’s Motion to Vacate Pretrial Conference unless and until all matters

       raised by Plaintiff’s and Defendant’s Motions have been resolved prior to its scheduled

       hearing on July 26, 2018, at 10:00 a.m

DATED this 24th day of July, 2018.



       I, Philip Copeland Story, Jr., state and affirm, under penalty of perjury, that the contents

of the foregoing Plaintiff’s Verified Reply to Defendant U.S. Dept. of Education’s Motions for

Discharge of Debt, Dismissal of Adversary Proceeding, and to Vacate Pretrial Conference; and

Plaintiff’s Motion for Entry of Default Judgment, and Motion for Judgment on the Pleadings, are

true and correct to the best of my knowledge, understanding and belief.

       DATED this 24th day of July, 2018.
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                                      S/ Philip C. Story, Jr.
                                      _____________________________
                                      Philip C. Story, Jr., Plaintiff ​Pro Se




                                      CERTIFICATE OF SERVICE



       I certify that on July 24, 2018, I sent by electronic mail, a true and correct copy of the

foregoing Plaintiff's Verified Reply to Defendant U.S. Dept. of Education’s Motions for Discharge

of Debt, Dismissal of Adversary Proceeding, and to Vacate Pretrial Conference; and Plaintiff’s

Motion for Entry of Default Judgment, and Motion for Judgment on the Pleadings, addressed to

counsel for Defendant, U.S. Dept. of Education, Lisa Bhatia-Gautier, AUSA, at:

lisa.bhatia@usdoj.gov


                                      S/Philip C. Story, Jr.
                                      _______________________________
                                      Philip C. Story, Jr.
                                      Plaintiff, ​Pro Se
